                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION



JOHNNY M. HUNT,              )
                             )
        Plaintiff,           )
                             )
v.                           )                       Case No. 3:23-cv-00243
                             )                       Judge Campbell/Frensley
SOUTHERN BAPTIST CONVENTION, )
et al.,                      )
                             )
        Defendants.          )



                                             ORDER

         Johnny Hunt, a pastor and former President of the Southern Baptist Convention (“SBC”),

brought this suit against SBC, the Executive Committee of the SBC (“the Executive

Committee”), and Guidepost Solutions LLC (“Guidepost”) (collectively, “Defendants”) alleging

torts including defamation and libel related to an investigative report (“the Report”) prepared by

Guidepost for SBC that includes allegations that Mr. Hunt sexually assaulted the wife (“the

accuser”) of another SBC pastor. 1 Docket No. 1. All three Defendants have filed Motions to

Dismiss, which are pending. Docket Nos. 25, 29, 31.

         This matter is now before the Court upon Mr. Hunt’s “Motion for Expedited Ruling,” in

which Mr. Hunt asks the Court to rule on his recently-filed “Third Motion to Compel” before the

time allotted under the Federal Rules of Civil Procedure for Defendants to respond. 2 Docket No.




1
  Guidepost was engaged by SBC to investigate possible sexual abuse by members of the
Executive Committee. Docket No. 1-1, p. 2.
2
  Per the Federal Rules, the response deadline is March 6, 2024.


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132, see Docket No. 130. Since Mr. Hunt filed his Motion, he has resolved this Motion with

regard to SBC, the Executive Committee, and Bart Barber (SBC’s current president), and

Guidepost has filed its Response in Opposition to the Motion to Compel in advance of the date

required under the Federal Rules, mooting the issue of deciding whether to proceed without

Defendants’ responses. See Docket No. 138, 141. Further, the stated reason for expediting a

ruling on the Motion (the fact that noticed deposition dates were approaching) is also mostly

moot, as all but one of the dates has now passed. Additionally, while Mr. Hunt alludes to the

need to expedite a ruling in order to avoid prejudice, he does not provide any details as to the

form that prejudice would take. To the extent that Mr. Hunt has taken the position that he would

be prejudiced by having to take the noticed depositions at a later date, that issue is largely moot

as well.

       Finally, the Parties are advised that as they have filed no fewer than fifteen discovery-

related motions within the last two months, expedited review of any one motion is exceedingly

unlikely. Meeting and conferring in a true spirit of attempting to resolve discovery conflicts is

the best way to move expeditiously through this phase of the litigation. Bringing every

conceivable difference to the Court for resolution all but guarantees the slowest possible

progress, given the volume of motions presented.

       For the foregoing reasons, Mr. Hunt’s Motion (Docket No. 132) is DENIED.



                                              IT IS SO ORDERED.




                                              ___________________________________
                                              Jeffery S. Frensley
                                              United States Magistrate Judge

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